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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

    CommScope, Inc., CommScope Inc. of ) Civil Action No. 19-cv-15962-JXN-
    North Carolina, and CommScope      ) LDW
    Technologies, LLC,                 )
                                       )
                Plaintiffs,            )
                                       ) BRIEF IN SUPPORT OF JOINT
    v.                                 )   MOTION OF ALL PARTIES
                                       ) FOR RECONSIDERATION OF
    Rosenberger Technology (Kunshan)   )       THE DENIAL OF THE
    Co. Ltd., Rosenberger Asia Pacific )   REQUESTED EXTENSION
    Electronic Co., Ltd., Rosenberger  )         BASED ON NEW
    Technology LLC, Rosenberger USA    ) INFORMATION, OR, IN THE
    Corp., Rosenberger North America   ) ALTERNATIVE, TO STAY THE
    Pennsauken, Inc., Rosenberger Site )           LITIGATION
    Solutions, LLC, Rosenberger        )
    Hochfrequenztechnik GmbH & Co.     )
    KG, Northwest Instrument, Inc.,    )
    CellMax Technologies AB,           )
                                       )
                Defendants.            )
                                       )
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                                   INTRODUCTION
         The parties jointly move the Court to reconsider the denial of their

   stipulation to extend the scheduling order 3.5 months. (Dkt. 525.) Since the Court’s

   order, the COVID restrictions in Mainland China have become even more severe.

   Most acutely, the relevant Chinese authorities will not confirm that they will issue

   the travel documents that would be necessary for witnesses to travel outside of

   Mainland China for depositions.1 What’s more, all the China-based witnesses

   would be traveling from near Shanghai and are affected by the city’s recently

   extended lockdown. These are new developments that were not before the Court

   when the joint stipulation was presented to the Court and rejected.

         Requiring employees to leave Mainland China is not a practical solution

   given the recent lockdowns and the required quarantines upon return. Travelers

   returning to Mainland China face lengthy quarantine periods of up to 56 days upon

   return, and those who are not Chinese citizens would be denied re-entry into the

   country. These quarantine periods have significant, real life consequences for the

   witnesses. For example, the quarantine policies may mean that one CommScope

   witness is not allowed to be with his minor son while he recovers from recent heart

   surgery. Similarly, many Rosenberger witnesses have family responsibilities that



   1
    Chinese law prohibits these depositions (whether remote or in person) from
   occurring in the mainland.
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   make their absence for multiple weeks not feasible, including recent parents who

   have no alternative extended care giver for their infant children.

         This application is not one that the parties make lightly. The parties have

   been working diligently to plan for depositions and were prepared to meet the

   current deadlines until the recent developments in China. But depositions are not

   permitted in Mainland China and the recently enacted measures make international

   travel unfeasible. Even for those witnesses willing to travel outside the mainland

   and quarantine for weeks, travel would require governmental approval, which is

   currently not confirmed.

         Moreover, the scheduling of international depositions (outside Mainland

   China) is a complicated undertaking that would be particularly difficult given the

   uncertainty surrounding China’s COVID policies. The parties intend to take 17

   depositions of witnesses from China and anticipate over 40 days of deposition

   from such witnesses. The combination of required international travel for the

   witnesses and the need for translation requires substantial advance planning and

   coordination. And the COVID restrictions in China make any advance planning

   hypothetical at best.

         The parties therefore jointly move the Court to reconsider its denial of the

   parties’ stipulation to amend the scheduling order and extend the schedule 3.5

   months to allow time for the COVID restrictions in China to ease. The parties have

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   agreed to use this time to re-engage in mediation with Judge Linares. Given

   developments since the last mediation, the parties are hopeful that progress can be

   made and this matter resolved. Thus, in the alternative, the parties request that the

   Court stay the case for 90 days under Local Rule 301.1 or the Court’s inherent

   authority to allow renewed mediation efforts before the parties undertake the

   substantial expense associated with depositions and expert discovery.

                                    BACKGROUND
   A.    The parties’ China-based witnesses have important information and are
         subject to intense COVID restrictions
         CommScope and Rosenberger collectively have 12 witnesses based in

   Mainland China whom the parties need to depose. (Declaration of Randall Kahnke

   (“Kahnke Decl.”) ¶ 4.) Five of the Rosenberger witnesses have also been requested

   for deposition in the Delaware patent case. (Id. ¶ 5.) These witnesses have personal

   knowledge of important information concerning material issues in this case. For

   example, CommScope contends that the Rosenberger witnesses are the principal

   source of information about Rosenberger’s design and development of BSAs. (Id.,

   Exs. A-B.) Rosenberger contends that CommScope’s witnesses are the principal

   source of information about CommScope’s treatment of the trade secrets at issue.

   (Declaration of Michael S. DeVincenzo (“DeVincenzo Decl.”) ¶ 3.) Given the

   overlapping witnesses, the parties have tried to coordinate deposition scheduling in



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   the Delaware patent case and this case. (Dkt. 492.) The parties in the Delaware

   patent case also intend to request an extension or stay. (Kahnke Decl. ¶ 6.)

         The CommScope witnesses are based in Suzhou, which is approximately

   one hour by train outside Shanghai. (Patel Decl. ¶¶ 2-3.) The Suzhou area is not in

   complete lockdown, but the government there is testing everyone (a city of over 7

   million people). (Id. ¶ 5.) If one person in a neighborhood in Suzhou tests positive

   for COVID, then the entire neighborhood goes into lockdown for up to two weeks.

   (Id.) Currently, 180 CommScope Suzhou employees are in lockdown. (Id.)

         The Rosenberger witnesses are based either in Kunshan, which is located

   even closer to Shanghai, or in Shanghai itself. (DeVincenzo Decl., Ex. A.)

   Kunshan recently went into lockdown. (Id.; see id., Exs. B-C .) The residents have

   been ordered to stay at home. (Id., Exs. A-C.) Rosenberger’s facility in Kunshan is

   also closed due to the shutdown. (Id., Ex. A.)

         Shanghai is the travel hub for the region. As such, all witnesses would likely

   travel via Shanghai airports for the depositions. (Patel Decl. ¶ 3 & DeVincenzo

   Ex., A.)

   B.    U.S. depositions cannot take place in Mainland China
         Under Chinese law, it is illegal for U.S. lawyers to take depositions in

   Mainland China for U.S. litigation. (Kahnke Decl., Ex. C, Article 284 of the Civil

   Procedure Law of the People’s Republic of China; see also U.S. Dep’t of State,


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   China Judicial Assistance Country Information, https://travel.state.gov/content/

   travel/en/legal/Judicial-Assistance-Country-Information/China.html (last visited

   Apr. 14, 2022) (“China Judicial Assistance Country Information”) (“China does

   not permit attorneys to take depositions in China for use in foreign courts.”)

   (emphasis in the original)).

         This prohibition also applies to remote depositions of witnesses located in

   Mainland China. Junjiang Ji v. Jling Inc., 2019 WL 1441130, at *5 (E.D.N.Y.

   Mar. 31, 2019) (“[I]f the people or witness sitting in the border of the People’s

   Republic of China, the foreign authority or foreign individual cannot take

   deposition from them or take testimony from them because they are in China.”

   (quoting testimony of Jian Hang, a New York attorney “who had also been

   licensed to practice law in China for approximately 20 years”)). “Participation in

   such activity could result in the arrest, detention or deportation of the American

   attorneys and other participants.” China Judicial Assistance Country Information.

   Thus, to avoid violating Chinese law, the depositions must occur outside of

   Mainland China.

   C.    China has instituted strict lockdowns preventing travel
         China follows a Zero COVID policy, which “severely impacts travel and

   access to public services.” U.S. Dep’t of State, China Travel Advisory,

   https://travel.state.gov/content/travel/en/traveladvisories/traveladvisories/china-


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    travel-advisory.html (last visited Apr. 14, 2022) (“China Travel Advisory”).

          As part of the Zero COVID policy, Chinese authorities have issued some

    form of lockdown for nearly 400 million people, including for people in Kunshan.

    Alexandra Stevenson, China’s economy pays a price as lockdowns restrict nearly

    a third of its population, N.Y. Times (Apr. 14, 2022),

    https://www.nytimes.com/2022/04/14/business/china-lockdowns-economy.html

    (“Nearly 400 million people are estimated to be under some form of lockdown in

    China as officials try to stop a fast-moving Omicron outbreak that is beginning to

    weigh on the world’s second-largest economy.”). Under these lockdowns, citizens

    are not allowed to go outside the community except for severe illness—illness that

    would preclude international travel. (DeVincenzo Decl., Ex. A.) Even for the

    witnesses not subject to lockdowns and willing to travel (see Patel Decl. ¶ 9),

    Chinese authorities are not issuing travel documentation—required for travel even

    to places like Hong Kong—except for “urgent” matters. (Declaration of Jim Miao

    (“Miao Decl.”) ¶¶ 2-7 & DeVincenzo Decl. ¶ 2.) Indeed, the relevant Chinese

    authorities will not commit to issuing travel documentation for depositions for U.S.

    litigation. (Miao Decl. ¶ 7.) Without these travel documents, witnesses would be

    unable to leave Mainland China. (Id. ¶ 2.) Further, Chinese officials could provide

    no information about when they would be able to resume issuing travel

    documentation. (Id. ¶¶ 2-7.)

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    D.    China-based witnesses face onerous quarantine requirements
          The quarantine policies in Mainland China are extremely stringent.

    Travelers returning to Mainland China face up to 56 days in quarantine. See

    Alexandra Stevenson, A Chinese city tells overseas visitors to quarantine for 28

    days, then do another 28, N.Y. Times (Nov. 10, 2021),

    https://www.nytimes.com/2021/11/10/world/asia/covid-china-shenyang-

    quarantine.html. The U.S. State Department warns, “While in quarantine, health

    authorities will test travelers as often as daily for COVID-19 and will not permit

    travelers to leave their rooms.” China Travel Advisory. The Chinese quarantine

    policies apply to anyone entering the country, including witnesses returning to

    Mainland China following their deposition. Id. (“All travelers should prepare to

    quarantine at a government-designated location for a minimum of 14 days upon

    arrival. … Even after completing quarantine on-arrival, travelers to the PRC and

    Hong Kong may face additional quarantines and mandatory testing as well as

    movement and access restrictions.”). In short, leaving Mainland China for

    depositions guarantees that witnesses will face a quarantine upon return.

          These quarantine requirements have real consequences for the witnesses—

    all of whom would be required to spend what could be many weeks away from

    their family in quarantine facilities. (Patel Decl. ¶¶ 6-7). One witness for

    CommScope faces the possibility of being quarantined away from his minor son


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    while the son recovers from heart surgery this summer. (Id. ¶ 8.) Similarly, many

    of the Rosenberger witnesses have family obligations and care requirements that

    make an extended quarantine untenable. One witness for Rosenberger, a new

    mother, has an infant child whom she will not leave for an extended period.

    (DeVincenzo Decl., Ex. A.) Another Rosenberger witness has a 14-month-old for

    whom she does not have an extended care giver to replace her. (Id.)

          China’s COVID policies do not account for these individual circumstances,

    even when they impose significant hardships. For example, in some parts of China,

    including in Shanghai—through which all the witnesses would be traveling—the

    State Department has warned of parents being separated from children under

    China’s COVID-19 policies. (China Travel Advisory; see also Patel Decl. ¶¶ 3-4 &

    Devincenzo Decl., Ex. B (April 11, 2022 CNBC article titled, “U.S. State

    Department orders all non-emergency government staff in Shanghai to leave as

    Covid surges.”).) U.S. news agencies confirm this risk. See, e.g., Brenda Go &

    Engen Tham, Shanghai separates COVID-positive children from parents in virus

    fight, Reuters (Apr. 2, 2022), https://www.reuters.com/world/china/shanghai-

    separates-covid-positive-children-parents-virus-fight-2022-04-02/; John Liu &

    Paul Mozur, ‘Totally Inhumane’: Child Separations Feed Anger in a Locked-Down

    Shanghai, N.Y. Times (Apr. 2, 2022), https://www.nytimes.com/2022/04/02/

    business/shanghai-covid-child-separation.html.

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    E.    China’s COVID policies prevent making the required advance plans
          There is no indication that the restrictions described above are likely to lift

    or lessen soon. To the contrary, the COVID situation in China appears to be

    worsening. See, e.g., Vivian Wang & Isabelle Niu, Shanghai Seethes in Covid

    Lockdown, Posing Test to China’s Leadership, N.Y. Times (Apr. 7, 2022),

    https://www.nytimes.com/2022/04/07/world/asia/shanghai-covid-china.html

    (“[With Shanghai’s] worst outbreak since the pandemic began, the authorities have

    deployed their usual hard-nosed playbook …no matter the cost.”).

          The parties are exploring options for these depositions, including traveling to

    Hong Kong or Singapore.2 But the circumstances in China have impeded the

    advance planning required. For example, Suzhou residents are being tested for

    COVID every day and if one person in a neighborhood tests positive, then the

    entire neighborhood is locked down for two weeks. (Patel Decl. ¶ 5.) In Kunshan,

    Rosenberger’s factory is now closed and its employees cannot leave their home for

    work, let alone for international travel. (DeVincenzo Decl., Ex. A.) These type of

    COVID restrictions make the advance planning and coordination for travel for

    depositions unrealistic—to say nothing of the on-the-ground logistical needs the


    2
     The parties’ joint stipulation mentioned that Hong Kong had announced plans to
    ease quarantine and travel restrictions to allow entry by foreigners traveling from
    the United States. (Dkt. 524.) But the actual policy is narrower than announced
    and is currently limited to Hong Kong residents traveling from the United States.
    See https://www.coronavirus.gov.hk/eng/inbound-travel.html.
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    parties will face (such as hiring multiple local interpreters for depositions and

    preparation) that also require substantial lead time to schedule. (See Kahnke Decl.

    ¶ 18.)

    F.       The parties are working diligently to make progress despite headwinds
             Even with these challenges, the parties are working diligently to plan for

    depositions. For example, the parties have identified witnesses, exchanged 30(b)(6)

    deposition notices and objections, and had numerous lengthy discussions about

    depositions. (Kahnke Decl. ¶ 19; DeVincenzo Decl. ¶ 4.) The parties have entered

    a “joint-use” agreement to allow use of information between the Delaware patent

    case and this case, while respecting the protective orders in both cases. (Id.) Thus,

    the parties are well positioned to start depositions once restrictions in China ease.

    At bottom, given the worsening situation in China and despite the sincere best

    efforts of both parties we have been unable to devise a practical plan for

    conducting the required depositions within the discovery period. (See id.)

                                         ARGUMENT
    I.       The Parties Respectfully Request the Court to Reconsider its Order

             Local Rule 7.1(i) allows parties to move for reconsideration of the Court’s

    prior orders in light of new developments. See L. Civ. R. 7.1(i). “The movant has

    the burden of demonstrating either: ‘(1) an intervening change in the controlling

    law; (2) the availability of new evidence that was not available when the court

    [issued its order]; or (3) the need to correct a clear error of law or fact or to prevent
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    manifest injustice.’” Andreyko v. Sunrise Sr. Living, Inc., 993 F. Supp. 2d 475, 478

    (D.N.J. 2014) (quoting Max’s Seafood Cafe v. Quinteros, 176 F.3d 669, 677 (3d

    Cir. 1999)) (alteration in the original). The Court should grant a motion for

    reconsideration based on the availability of new facts or evidence if the newly

    available evidence undercuts the grounds for the prior decision. See, e.g., Walsh v.

    Defenders, Inc., 2018 WL 555690, at *3 (D.N.J. 2018) (granting motion for

    reconsideration based on newly available evidence), aff’d 894 F.3d 583 (3d Cir.

    2018); Terry v. Town of Morristown, 2008 WL 11510335, at *3 (D.N.J. 2008)

    (granting motion for reconsideration based on new evidence).

          After the Court’s order denying the parties’ joint stipulation to extend the

    schedule, the COVID restrictions in Mainland China have significantly worsened.

    In particular, lockdowns are in place that prevent the parties’ China-based

    witnesses from leaving their homes. (See Patel Decl. ¶¶ 4-5 & DeVincenzo Decl.,

    Ex. A.) To the extent witnesses are willing and able to travel for depositions (see

    Patel Decl. ¶ 9), the relevant Chinese authorities will not commit to issuing the

    required travel documentation for them to travel outside of the mainland. (See

    Miao Decl. ¶¶ 2-7.) Similarly, after the Court’s order, the Shanghai area extended

    its lockdown and increased COVID restrictions—which impact the China-based

    witnesses’ ability to travel. (See Patel Decl. ¶¶ 3-4 & DeVincenzo Decl., Exs. A-

    C.) Indeed, as a result, Rosenberger’s Kunshan facilities have been shut down by

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    the government, preventing identified witness from going to their place of work.

    (See DeVincenzo Decl., Ex. A.) In addition, news reports indicate that despite

    China’s lockdown efforts, COVID cases in Shanghai are rising and “hit a record

    high on Wednesday.” Britt Clennett & Karson Yiu, Shanghai lockdown tests

    resilience of 'Zero-COVID' strategy, as economic and social tolls grow, ABC

    News (Apr. 13, 2022), https://abcnews.go.com/International/shanghai-lockdown-

    tests-resilience-covid-strategy-economic-social/story?id=84052348.

          Despite the uncertainty, CommScope and Rosenberger have remained

    committed to meeting the scheduling order’s deadlines and have taken the steps

    discussed above. Overseas depositions, however, take substantial lead time and

    planning that is not practical given the COVID measures in China. It is not realistic

    for the parties to undertake the substantial effort and unrecoverable costs of

    planning depositions in multiple different locations outside of China in the hopes

    the witnesses will eventually be able to travel to one of them.

          Even if travel were possible, the toll on the witnesses factors in favor of

    extending the schedule. In this case, witnesses face weeks in isolation in hotels or

    other quarantine facilities away from their families and the associated burdens

    outlined above. (See supra at 6-8; Patel Decl. ¶¶ 6-7; DeVincenzo Decl., Ex. A.)

    Moreover, with rising COVID cases in the areas where the China-based witnesses

    live, there is the real possibility that depositions will be canceled because the

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    witnesses are forced into lockdown as the result of someone in their neighborhood

    testing positive for COVID. Extending the schedule a few months would allow

    time for the Omicron variants in China to recede, the COVID restrictions to ease,

    and the witnesses to avoid these burdens.

          Accordingly, and in light of the recent developments, the parties respectfully

    request that the Court reconsider the denial of the parties’ joint stipulation and

    amend the scheduling order approximately 3.5 months to allow time for the

    COVID restrictions in Mainland China to ease.

    II.   In the Alternative, the Court Should Stay the Case for Mediation
          The parties have agreed to use the requested extension to re-engage in

    mediation with Judge Linares. Given developments in the case since the last

    mediation, the parties are hopeful that progress can be made and this action

    resolved. Thus, in the alternative, the parties respectfully request that the Court

    refer the case to mediation and stay the case under the Court’s inherent authority or

    Local Rule 301.1. A district court has “broad power to stay proceedings.” Bechtel

    Corp. v. Local 215, Laborers’ Int’l Union of N. Am., 544 F.2d 1207, 1215 (3d Cir.

    1976). This power “is incidental to the power inherent in every court to control the

    disposition of the cases on its docket with economy of time and effort for itself, for

    counsel, and for litigants.” Id. (quoting Landis v. North American Co., 299 U.S.

    248, 254-55 (1936)). Similarly, Local Rule 301.1(e)(6) allows the Court to stay


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    “All proceedings (including motion practice and discovery) …. for a period of 90

    days from the date a civil action is referred to mediation.”

          Whether to grant a stay “calls for the exercise of judgment, which must

    weigh competing interests and maintain an even balance.” Id. Specifically, courts

    in this District consider four factors:

                 (1) whether a stay would unduly prejudice or present a clear tactical
                 disadvantage of the non-moving party;
                 (2) whether denial of the stay would create a clear case of hardship or
                 inequity for the moving party;
                 (3) whether a stay would simplify issues and the trial of the case; and
                 (4) the length of the stay.

    Burress v. Freedom Mortgage Corp., 2022 WL 586606, at *2 (D.N.J. Jan. 31,

    2022) (first three factors); Nicholas v. Trustees of Princeton Univ., 2017 WL

    6514662, at *2 (D.N.J. Dec. 20, 2017) (adding fourth factor).

          The most critical question is whether there is a “fair possibility that”

    granting a stay “will work damage to some one else.” Landis, 299 U.S. at 255. If

    there is no such possibility, a stay is more likely appropriate. See, e.g., Schwartz v.

    Nugent, 2018 WL 3069220, at *5 (D.N.J. June 21, 2018) (granting stay where

    “defendants would suffer no clear prejudice from granting a stay,” whereas

    plaintiffs “would potentially suffer serious prejudice from its denial”).

          Here, because the parties are jointly moving for a stay, all factors weigh in

    favor of staying the case for 90 days pursuant to the Court’s inherent authority or

    Local Rule 301.1 to allow time for mediation. The parties agree that the stay will
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    not impact compliance with any of the Court’s orders on outstanding document

    and written discovery. Of course, the parties would continue to prepare for

    depositions in the event mediation proved unsuccessful.

          The parties are optimistic that the renewed mediation will be fruitful and

    have agreed to schedule a mediation with Judge Linares. The parties have also

    removed previous impediments to mediation. Specifically, the parties have agreed

    to allow counsel from the Delaware patent case to appear in this case, and to allow

    the sharing of information from both cases. These developments make a global

    resolution more likely. In addition, substantial discovery since the parties’ last

    mediation in July has put the parties in a better position to assess settlement.

          Pausing the case now would give the parties time to explore mediation

    before incurring the substantial costs associated with depositions and expert

    discovery. Having the mediation and depositions proceed in tandem naturally

    changes that calculus because much of the discovery expenses would be

    committed. Thus, the parties request the Court stay the case for 90 days under

    Local Rule 301.1(e)(6) or the Court’s inherent authority.

                                      CONCLUSION
          For the foregoing reasons, the parties respectfully request that the Court

    reconsider the denial of the joint stipulation to amend the scheduling order 3.5

    months or, in the alternative, stay the case for 90 days.


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